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                     IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION (DAYTON)

Jannie Marshall                           :
1110 W. Ward Street                       :
Urbana, OH 43078
                                          :
       Plaintiff,                         :             Case No. 3:20-cv-00092-WHR
                                          :
v.                                                      Judge Walter H. Rice
                                          :
Orbis Corporation of Wisconsin            :
200 Elm Street                            :
Urbana, OH 43078
                                          :
                                          :
       Defendant.                         :



                              ORDER FOR DISMISSAL



                                        ORDER

      Pursuant to the above stipulation of the parties;

       IT IS HEREBY ORDERED that the above action be and is hereby dismissed on
its merits, with prejudice, and without costs to either party.

      Dated this 25th
                 ____ day of September, 2020.


                                 BY THE COURT:


                                                          (tp - per Judge Rice authorization after his review)
                                 _________________________________
                                 The Honorable Walter H. Rice
                                 United States District Judge
